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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


YONG XU, on his own behalf and on behalf of others
similarly situated,
                                                                        19 Civ. 11885 (PAE)
                                         Plaintiff,
                         -v-                                                   ORDER

 KEALOHA SUSHI INC. et al.,

                                         Defendants.


PAUL A. ENGELMAYER, District Judge:

         On November 4, 2020, the Court received plaintiff’s motion for a default judgment, see

Dkts. 61–63, and plaintiff’s motion for attorney’s fees and costs, see Dkts. 64–66. See Dkt. 60

(order from Judge Aaron directing plaintiff to file motion for default judgment by November 4,

2020).

         Plaintiff’s papers in support of the motions are in good order. If any defendant wishes to

oppose the motion, their counsel shall enter a notice of appearance prior to December 3, 2020,

and file an opposition on ECF, explaining why a default judgment is not warranted, by

December 3, 2020 at 5 p.m.

         Plaintiffs are to serve Judge Aaron’s order, Dkt. 60, this order, and the papers in support

of their motions for a default judgment and attorney’s fees and costs on all defendants forthwith

and file proof of this service no later than November 12, 2020.
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      SO ORDERED.

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                                              ____________________________
                                              Paul A. Engelmayer
                                              United States District Judge


Dated: November 6, 2020
       New York, New York
